                                                                            1    Ray R. Brown
                                                                                 Mauri Long
                                                                            2    DILLON & FINDLEY, P.C.
                                                                                 1049 W. 5th Avenue, Suite 200
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                                                                                 Anchorage, AK 99501
                                                                            4    Phone: 277-5400
                                                                                 Fax: 277-9896
                                                                            5

                                                                            6
                                                                                                   IN THE UNITED STATES DISTRICT COURT
                                                                            7

                                                                            8                   FOR THE DISTRICT OF ALASKA AT ANCHORAGE

                                                                            9

                                                                            10   DONALD C. RICHARDS,           )
                                 TEL. (907) 277-5400 · FAX (907) 277-9896




                                                                                                               )
              DILLON & FINDLEY
                                    A PROFESSIONAL CORPORATION




                                                                            11                  Plaintiff,     )
                                        1049 W. 5th Avenue, Suite 200
                                          Anchorage, Alaska 99501




                                                                                                               )
                                                                            12
LAW OFFICES




                                                                                 vs.                           )
                                                                            13
                                                                                                               )
                                                                                 UNITED STATES OF AMERICA      )
                                                                            14   and SHIRLEY FRASER, M.D.,     )
                                                                                                               )
                                                                            15                  Defendants.    )
                                                                                 ______________________________)           Case No. 3:12-cv-00148-SLG
                                                                            16

                                                                            17
                                                                                                   STIPULATED DISMISSAL WITH PREJUDICE
                                                                            18
                                                                                       Pursuant to the Settlement Agreement terms executed in this
                                                                            19
                                                                                 matter on the 27th day of April 2015, it is hereby acknowledged
                                                                            20
                                                                                 that the settlement funds have now been received in trust at the
                                                                            21
                                                                                 law firm of Dillon & Findley, P.C.              Accordingly, the parties
                                                                            22

                                                                            23   stipulate and agree to an order from this Court dismissing this

                                                                            24   action in its entirety with prejudice, with each party bearing

                                                                            25   its own costs, expenses, and fees, and expressly not retaining
                                                                            26
                                                                                 Donald C. Richards v. U.S.A. and Shirley Fraser, M.D.
                                                                                 Case No. 3:12-cv-00148-SLG
                                                                                 STIPULATED DISMISSAL WITH PREJUDICE
                                                                                 Page 1 of 2
                                                                                   Case 3:12-cv-00148-SLG Document 59 Filed 06/30/15 Page 1 of 2
                                                                            1    jurisdiction over the above-captioned action, this settlement,
                                                                            2    or the United States.
                                                                            3
                                                                                       DATED this 30th day of June 2015, at Anchorage, Alaska.
                                                                            4
                                                                                                                     DILLON & FINDLEY, P.C.
                                                                            5                                        Attorneys for Plaintiff

                                                                            6
                                                                                                                     By: s/Ray R. Brown              __
                                                                            7                                           Ray R. Brown, ABA No. 8206012
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                                                                                                                     KAREN L. LOEFFLER
                                          Anchorage, Alaska 99501




                                                                            12                                       United States Attorney
LAW OFFICES




                                                                            13                                       By: s/Susan J. Lindquist (consent)
                                                                                                                        Susan J. Lindquist
                                                                            14                                          Assistant U.S. Attorney
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                                                                            15                                          Anchorage, Alaska 99513-7567
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                                                                            16                                          Fax:   271-2344
                                                                                                                        Email: susan.lindquist@usdoj.gov
                                                                            17                                          ABA No. 9008053
                                                                            18

                                                                            19

                                                                            20   CERTIFICATE OF SERVICE
                                                                            21   I hereby certify that on June 30, 2015,
                                                                                 a copy of the foregoing Stipulated
                                                                            22   Dismissal With Prejudice was served
                                                                                 electronically on Susan J. Lindquist.
                                                                            23

                                                                            24   s/Ray R. Brown
                                                                            25

                                                                            26
                                                                                 Donald C. Richards v. U.S.A. and Shirley Fraser, M.D.
                                                                                 Case No. 3:12-cv-00148-SLG
                                                                                 STIPULATED DISMISSAL WITH PREJUDICE
                                                                                 Page 2 of 2
                                                                                   Case 3:12-cv-00148-SLG Document 59 Filed 06/30/15 Page 2 of 2
